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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                             HARRISONBURG DIVISION

 MEGAN WHITTINGTON,                        )
                                           )
                Plaintiff,                 )      Case No. 5:21-cv-00066
                                           )
 v.                                        )      ORDER
                                           )
 THE SHENANDOAH COUNTY                     )      By:     Hon. Thomas T. Cullen
 COMMONWEALTH OF VIRGINIA,                 )              United States District Judge
 et al.,                                   )
                                           )
                Defendants.                )


         For the reasons stated in the court’s Memorandum Opinion, it is hereby

 ORDERED that:

      (1) Defendant Stephanie Cool-Danner’s Motion to Dismiss or, in the alternative, Motion
          for Summary Judgment (ECF No. 27) is GRANTED;

      (2) Plaintiff Megan Whittington’s Motion for Leave to File an Amended Complaint
          (ECF No. 46) is DENIED;

      (3) Plaintiff’s claims against The Shenandoah County, Virginia, are DISMISSED under
          28 U.S.C. § 1915(e)(2)(B)(ii);

      (4) Plaintiff’s claims against Heather Frost as DISMISSED WITHOUT PREJUDICE
          under Federal Rule of Civil Procedure 4(m); and

      (5) Plaintiff’s Motion for a Preliminary Injunction (ECF No. 5)is DENIED AS MOOT.

         The clerk is directed to forward copies of this Order and the accompanying

 Memorandum Opinion to the parties and close this case.

         ENTERED this 7th day of July, 2022.

                                                  /s/ Thomas T. Cullen_________________
                                                  HON. THOMAS T. CULLEN
                                                  UNITED STATES DISTRICT JUDGE
